           Case 3:18-cr-03677-W Document 21 Filed 09/05/18 PageID.88 Page 1 of 4


 1 ADAM L. BRAVERMAN
   United States Attorney
 2 EMILY W. ALLEN
   California Bar No. 234961
 3 W. MARK CONOVER
   California Bar No. 236090
 4 PHILLIP L. HALPERN
   California Bar No. 133370
 5 Assistant United States Attorneys
   U.S. Attorney’s Office
 6 880 Front Street, Room 6293
   San Diego, CA 92101
 7 Tel: (619) 546-6864
   Email: Phillip.Halpern@usdoj.gov
 8
   Attorneys for Plaintiff
 9 United States of America
10                          UNITED STATES DISTRICT COURT
11                          SOUTHERN DISTRICT OF CALIFORNIA
12 UNITED STATES OF AMERICA                 ) No. 18CR3677-W
                                            )
13        Plaintiff,                        ) JOINT MOTION TO EXCLUDE TIME
                                            ) UNDER THE SPEEDY TRIAL ACT
14    v.                                    )
                                            )
15 DUNCAN D. HUNTER, (1)                    )
                                            )
16 MARGARET E. HUNTER, (2)                  )
                                            )
17         Defendants.                      )
                                            )
18
19          The United States of America, by its counsel, and defendants Duncan D. Hunter and
20 Margaret E. Hunter, by their counsel, Gregory A. Vega and Thomas W. McNamara, jointly
21 move to exclude time under the Speedy Trial Act, 18 U.S.C. §§ 3167(h)(1)(D) and
22 3161(h)(7).
23          1.    The Indictment in this case was returned on August 21, 2018. Both defendants
24 were arraigned on the indictment on August 23, 2018. At that time, the court set a status
25 hearing for September 4, 2018.
26          2.    The Speedy Trial Act, 18 U.S.C. § 3161(c)(1), requires trial to commence
27 within 70 days of a defendant’s arraignment. The initial maximum trial date was therefore
28 originally noted as November 1, 2018.
         Case 3:18-cr-03677-W Document 21 Filed 09/05/18 PageID.89 Page 2 of 4



 1         3.    On August 31, 2018, the United States produced to each defendant a hard drive
 2 containing nearly two terabytes of materials, along with a detailed index describing all the
 3 discovery materials on the drive. These records included materials received from staff
 4 members and witnesses, banks, and vendors and other businesses; social media and internet
 5 service providers; and evidence seized pursuant to search warrants conducted at physical
 6 locations and email and social media accounts. At that time, the United States indicated that
 7 it would shortly provide defense counsel with reports of interviews with witnesses and
 8 affidavits in support of search warrants.
 9       4.      On September 4, 2018, this Court held a status hearing in the presence of both

10 defendants. At that time, all parties agreed that the hearing should be continued until
11 September 24, 2018, to allow the defense to review the items produced to date and the soon-
12 to-be-produced witness interviews prior to informing the Court as to their estimation of a
   reasonable motion hearing date.
13
          5.     In response, the Court found that the status hearing should be continued until
14
   September 24, 2018. In doing so, it specifically found that the failure to continue the matter
15
   from September 4, 2018 to September 24, 2018 would result in a “miscarriage of justice.”
16
          6.     The Speedy Trial Act excludes delay resulting from a continuance if the Court
17
   finds “the ends of justice served by taking such action outweigh the best interest of the public
18
   and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). The court must “set[] forth
19
   … either orally or in writing, its reasons” for the finding. Id. The court “shall consider” the
20
   following factors, “among others”:
21
            (i) Whether the failure to grant such a continuance in the proceeding would
22        be likely to make a continuation of such proceeding impossible, or result in
23        a miscarriage of justice.
            (ii) Whether the case is so unusual or so complex, due to the number of
24        defendants, the nature of the prosecution, or the existence of novel questions
          of fact or law, that it is unreasonable to expect adequate preparation for
25        pretrial proceedings or for the trial itself within the time limits established by
26        this section.
            …
27
            (iv) Whether the failure to grant such a continuance in a case which, taken
28        as a whole, is not so unusual or so complex as to fall within clause (ii), would


                                                   2
        Case 3:18-cr-03677-W Document 21 Filed 09/05/18 PageID.90 Page 3 of 4


          deny the defendant reasonable time to obtain counsel, would unreasonably
1         deny the defendant or the Government continuity of counsel, or would deny
          counsel for the defendant or the attorney for the Government the reasonable
2         time necessary for effective preparation, taking into account the existence of
3         due diligence.

4 U.S.C. § 3161(h)(7)(B). “No continuance under [this provision] shall be granted because of
5 general congestion of the court’s calendar, or lack of diligent preparation or failure to obtain
6 available witnesses on the part of the attorney for the Government.”                  18 U.S.C.
7 § 3161(h)(7)(C).
8         7.    The ends of justice served by granting the requested continuance outweigh the
9 best interest of the public and the defendant in a speedy trial for the following reasons:
10              a.     The defendants are charged with participating in a years-long conspiracy
11        to commit several offenses, as well as multiple substantive counts of wire fraud and
12        campaign finance violations.
13              b.     Pursuant to the Court’s protective Order regarding discovery, the United
14        States has produced a large volume of discovery materials to the defense. In addition,
15        as noted, the United States is preparing further discovery, including reports of
16        interviews with witnesses, which will be produced on a rolling basis.
17              c.     Counsel for the defendants represented at the September 4 hearing, and
18        again through this motion, that additional time is necessary to confer with their clients;
19        to conduct and complete an independent investigation of the case and legal research
20        necessary for potential pre-trial motions; to review the discovery and potential
21        evidence in the case; and to prepare for trial.
22              d.     Defense counsel represents that failure to grant the continuance would
23        deny them the reasonable time necessary for effective preparation, taking into account
24        the exercise of due diligence.
25              e.     The defendants believe that failure to grand the continuance will deny
26        them continuity of counsel and adequate representation.
27              f.     The continuance was not based on congestion of the Court’s calendar,
28        lack of diligent preparation on the part of the attorneys for the United States or the


                                                  3
         Case 3:18-cr-03677-W Document 21 Filed 09/05/18 PageID.91 Page 4 of 4



 1        defense, or failure on the part of the attorneys for the United States to obtain available
 2        witnesses.
 3        8.      This is the first request for a continuance of the status hearing in this case.
 4 Defendants are both currently out of custody.
 5        9.      Counsel for defendants represent that they have discussed the need for this
 6 continuance with the defendants. Defendants agree to and join in the request for this
 7 continuance.
 8        10.     The parties therefore jointly move to exclude time under the Speedy Trial Act.
 9 The parties agree the period of delay excluded spans the time from September 4, 2018 to
10 September 24, 2018.
11        DATED:        September 5, 2018
12                                          Respectfully submitted,
13
                                            ADAM L. BRAVERMAN
14
                                            United States Attorney
15
                                            /s/ Emily W. Allen
16
                                            EMILY W. ALLEN
17                                          W. MARK CONOVER
18                                          PHILLIP L.B. HALPERN
                                            Assistant U.S. Attorneys
19
20
                                            /s/ Gregory A. Vega
21                                          GREGORY A. VEGA
22                                          Attorney for Duncan D. Hunter

23
24                                          /s/ Logan Smith
                                            LOGAN SMITH
25                                          Attorney for Margaret E. Hunter
26
27
28

                                                  4
